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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS


JUDITH ROSWOLD-ZAWADA,                              )
                                                    )          11-cv-50305
                      Plaintiff,                    )
                                                    )          J. Reinhard
               vs.                                  )
                                                    )
AMERICAN CORADIUS                                   )
INTERNATIONAL, LLC, d/b/a ACI,                      )
                                                    )
                      Defendant.                    )

                                    NOTICE OF DISMISSAL

       Plaintiff, pursuant to Fed.R.Civ.P. 41(a)(1)(A)(i), hereby gives notice of the dismissal of

this action, without prejudice and without costs.

                                                        Respectfully submitted,

                                                        s/ Catherine A. Ceko
                                                        Catherine A. Ceko

Daniel A. Edelman
Cathleen M. Combs
Catherine A. Ceko
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                                   CERTIFICATE OF SERVICE

     I, Catherine A. Ceko, hereby certify that this notice was filed with the Court on
November 8, 2011. This notice was also sent for service on the same date via US mail to:

American Coradius International, LLC
c/o Registered Agent
Illinois Corporations Service Co.
801 Adlai Stevenson Dr.
Springfield, IL 62703


                                                        s/ Catherine A. Ceko
                                                        Catherine A. Ceko

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